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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND


    CHAMBERS OF                                                   101 WEST LOMBARD STREET
  SUSAN K. GAUVEY                                                 BALTIMORE, MARYLAND 21201
U.S. MAGISTRATE JUDGE                                           MDD_skgchambers@mdd.uscourts.gov




                                    February 11, 2022

TO ALL COUNSEL OF RECORD:

         Re:        Grant v. Atlas Restaurant Group, LLC.,
                    Civil Case No. GLR-20-2226

Dear Counsel:

     I am setting in a supplemental settlement conference on
Friday, May 27, 2022 at 10:00 a.m., to be held via Zoom.

     Given the deadline for filing of dispositive motions in early
May, I will read the briefing on the motions prior to the
supplemental settlement conference.     Counsel should provide a
status report on any ongoing settlement negotiations and provide
any information about the case that you wish to provide ex parte,
no later than Friday, May 20, 2022.

     Notwithstanding the informal nature of this letter, it is an
Order of the Court and the Clerk is directed to docket it as such.

                                        Sincerely yours,

                                              /s/

                                        Susan K. Gauvey
                                        United States Magistrate Judge



cc:      Honorable George Levi Russell, III
         Court and Chambers File
